          Case 3:20-cr-00229-JO         Document 40     Filed 11/15/21     Page 1 of 2




                        IN THE UNITED STATES DISTRICT COURT

                              FOR THE DISTRICT OF OREGON




  UNITED STATES OF AMERICA,
                                                      Case No. 3:20-CR-00229-JO
                                     Plaintiff,

                  v.                                  ORDER GRANTING JOINT MOTION
                                                      TO REDUCE SENTENCE
  ANDAR NAVARRO CHAPA,

                                   Defendant.

JONES, United States District Court Judge:

       This matter is before the Court on the parties’ joint motion to reduce sentence pursuant to

18 U.S.C. § 3582(c)(1)(A)(i). Based on the filings to date and the agreement of the parties, and

after full consideration of the relevant factors under 18 U.S.C. § 3553(a), the Court finds that

extraordinary and compelling reasons warrant a reduction of defendant’s sentence to time served,

to be followed by four years of supervised release. All other terms and conditions of supervised

release shall remain in full force and effect.

       Execution of this order will be delayed for seven days following entry of the amended

judgment and commitment order to allow for the Bureau of Prisons to notify ICE.

       The Court concludes that the defendant’s release pursuant to this order is consistent with

any currently applicable U.S. Sentencing Commission policy statements. The Court therefore

GRANTS the Joint Motion to Reduce Sentence.



Page 1 ORDER GRANTING JOINT MOTION TO REDUCE SENTENCE
         Case 3:20-cr-00229-JO        Document 40       Filed 11/15/21     Page 2 of 2




       IT IS HEREBY ORDERED that an amended judgment and commitment order shall be

prepared and entered forthwith in accordance with this decision.

       IT IS FURTHER ORDERED that Defendant shall be released no sooner than seven days

after entry of the amended judgment and commitment order.

       Dated this 15th day of November, 2021.


                                            /s/ Robert E. Jones
                                            Hon. Robert E. Jones
                                            United States District Judge
Submitted by:

s/ Kimberly-Claire E. Seymour
Kimberly-Claire E. Seymour
Assistant Federal Public Defender

Jessica Greenlick Snyder
Research & Writing Attorney

s/ Amy Potter
Amy Potter
Assistant U.S. Attorney




Page 2 ORDER GRANTING JOINT MOTION TO REDUCE SENTENCE
